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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON




CAROL FULKERSON, individually and
on behalf of all others similarly situated,
SHELLEY PALMER, individually and
on behalf of all others similarly situated,
and JORDAN OHLDE, individually and
on behalf of all others similarly situated,


               Plaintiffs,                                       Civ. No. 6:20-cv-01579-AA

                       v.                                         JUDGMENT


  BEND MEMORIAL CLINIC dba
  SUMMIT MEDICAL GROUP OREGON,
  and SUMMIT HEALTH
  MANAGEMENT, LLC,

               Defendants.

_____________________________________


       Pursuant to the parties' Stipulation of Dismissal, this action is DISMISSED with

prejudice. Each party shall bear their own costs and fees, including attorneys' fees, incurred in

connection with this action.


       DATED: 8/1/2022

                                              Melissa Aubin, Clerk

                                              By     /s/ C. Kramer
                                                     Deputy Clerk

1 –JUDGMENT
